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                                 UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES

Date: April 3, 2024            Time: 11:30 a.m. to 12:30 p.m.    Judge: YVONNE GONZALEZ ROGERS
Case No.: 23-cv-04155-YGR      Case Name: California Coalition for Women Prisoners v. United States of
                               America Federal Bureau of Prisons


  Attorney for Plaintiff: Kara Janssen
  Attorney for Defendant: Madison Mattioli
  Invitee: Wendy Still

  Deputy Clerk: Edwin Angelo A. Cuenco                      Court Reporter: Not Reported


                                             PROCEEDINGS
     Status Conference – Held.

     Ms. Still is informed of the Court’s inclination to appoint her as Special Master. The Court is
     prepared to authorize the creation of a Team of experts to assist the Special Master. Ms. Still
     finds the offer satisfactory and will submit the names of experts to comprise the team. The initial
     invoice will be submitted to the court in two weeks and monthly thereafter. Parties ordered to
     meet and confer on the scope and verbiage of the order.

     The case is continued to Friday, April 5, 2024, at 9:00 a.m. for further status conference via
     Zoom.

     Written order to issue.
